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                                                                                           2019 May-20 PM 02:10
                                                                                           U.S. DISTRICT COURT
                                                                                               N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ALABAMA
                            NORTHEASTERN DIVISION

UNITED STATES OF AMERICA,

vs.                                                5:18-CR-56 KOB-HNJ (001)

BRIAN ROBERT SODI,
              Defendant.

                                           ORDER

       This action is scheduled for a Sentencing Hearing for Defendant Brian Robert Sodi,

Thursday, October 3, 2019 at 10:30 AM, Courtroom 8, Hugo L. Black United States

Courthouse, Birmingham, Alabama. Counsel is reminded that the mandatory assessment fee

is due at the time of sentencing.

       Federal Rules of Criminal Procedure 32(f) requires that within 14 days of receiving

the presentence report from the Probation Office, the parties shall communicate in writing

to the probation officer, and to each other, any objections to the presentence report. In

accordance with that Rule, it is hereby ORDERED that such objections be filed with the

Clerk of the Court and served on the Probation Office.

       If the defendant intends to waive the 35 day disclosure requirement pursuant to Fed.

R. Crim. Proc. 32(e)(2), the parties must file written objections within a reasonable time prior

to the day of sentencing for consideration by the court. In the absence of exceptionally good

cause, the court will not consider objections if defendant is not in compliance with this order.

       Counsel are requested to notify Courtroom Deputy Frankie Sherbert (205-278-1738
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or frankie_sherbert@alnd.uscourts.gov) within 72 hours prior to sentencing if testimony,

victim statements or special issues or circumstances are anticipated at this sentencing

hearing.

      So Ordered this 20th day of May, 2019.




                                             _________________________________
                                             KARON OWEN BOWDRE
                                             CHIEF UNITED STATES DISTRICT JUDGE
